4:13-cr-03130-JMG-CRZ       Doc # 281      Filed: 05/23/14   Page 1 of 1 - Page ID # 1207




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA



In re Gerald Soucie:                             4:13CR3130
2013/2014 Attorney Assessment



      Pursuant to Nebraska General Rule 1.7(d), the court requires all attorneys
enrolled in the bar of this court to pay a biennial assessment; this rule does not apply to
attorneys who appeared before the court pro hac vice or are employed by the federal
government or a state, county, city, or local government. The proceeds of this
assessment defray the cost of maintaining the role of attorneys admitted to practice
before this court, reimburse appointed counsel for reasonable expenses incurred in
representing indigent litigants, and fund the Federal Practice Fund.


      In December 2012, the clerk’s office sent out an e-mail to all Active/Due and
Active/Paid attorneys requesting payment for the 2013/2014 Attorney Assessment. On
March 31, 2014, the clerk’s office sent an additional e-mail to attorneys who were
involved in a pending case, but had not paid the 2013/2014 fee.


      As of this date, Mr. Soucie has a pending case(s) in this court and has not paid
the 2013/2014 Attorney Assessment. Within 30 days from the date of this order, Mr.
Soucie is directed to pay the $20.00 fee or show cause why he is unable to do so.


       Dated this 23rd day of May, 2014.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 Chief Judge Laurie Smith Camp
